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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

NBA PROPERTIES, INC., MLB ADVANCED
MEDIA, L.P., MAJOR LEAGUE BASEBALL                     Case No. 18-cv-04558
PROPERTIES, INC., NHL ENTERPRISES,
L.P., IMG COLLEGE LICENSING, LLC, and
BOARD OF REGENTS OF THE
UNIVERSITY OF NEBRASKA ON BEHALF
OF THE UNIVERSITY OF NEBRASKA-
LINCOLN,
                         Plaintiffs,
v.

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

                         Defendants.


                      Schedule A – Sealed Document Pursuant to LR26.2

       This document is being filed under seal with a Motion for Leave to File Documents under

Seal. A full version of Schedule A will be delivered to the Court in a sealed envelope and will

remain under seal until further order of this Court.
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Dated this 2nd day of July 2018.      Respectfully submitted,


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                                      LLC, and Board of Regents of the University of
                                      Nebraska on behalf of the University of Nebraska –
                                      Lincoln




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